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                             COMPLAINT FORM
                    IN THE UNITED STATES DISTRI.CT COURT FILED/REC'D
                  FOR THE WESTERN DISTRICT OF WISCONs:!Ni:J'! ! L1 1\. !O: 31.J



Marion-Robert
c/o 726 E Highway 12 #102
Hudson, WI 54016
                                                Case Number:
vs                                             · 22       CV          6 5 7 JDP
Dare! Hall
372 185th Street
Osceola, WI 54020



     A.           PARTIES
                 1.    Affiant is a man, currently living on Wisconsin,
                    and receives mail at: c/o 726 E Highway 12 #102,
                    Hudson, WI 54016

                 2.    Defendant Dare! Hall is a citizen of Wisconsin
                 and resides at: 372 185th Street, Osceola, WI 54020

     B.         STATEMENT OF CLAIM

On July 23, 2021, Dare! Hall, acting as an Animal Control Officer,
for the Town of Hudson, under color of law, trespassed,
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without a warrant, on a privately-owned land Estate, near
Hudson, Wisconsin. This private land is clearly posted with No
Trespassing signs noting Land Patent# 1493, filed at the Bureau
of Land Management, and containing, Federal U.S.C. law
concerning Title 18 U.S.C. Sec. 241, 242 and Title 42 U.S.C. Sec.
1982, 1983, 1985 and 1986.

Darel Hall, then, on or about, July 24, 2022, made false
accusations and threats, via phone conversation, with I,
Marion, concerning private property on said private land
                                                         '
Estate. (an incident)

Following that conversation, Darel Hall, presented said
accusations, to the Town of Hudson, a corporate fiction, Dun's
# 608281341. 'Citations' were mailed to MARION R SHAW,
containing false accusations, threats of extortion, and potential
harm to the safety of the private property.

These 'citation' documents were sent anonymously, without
any sworn, notarized affidavit of facts from a competent first-
hand witness, containing extortion-type threats, via United
States Postal Service. This constitutes mail fraud and was
reported to the USPS mail fraud division, Reference
(#2067846.

Town of Hudson, then, acting upon Darel Hall's 'citations',
prosecuted a 'forfeiture', for private property that I don't own,
and an event I am not responsible for.
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I, Marion, have no contract with Town of Hudson nor with Dare!
Hall to create said debt, with or without pledged property to
forfeit.

Dare! Hall's slanderous (false) accusations, wrongful
prosecution, and trespass on private land has resulted in loss of
employment hours, productivity, time, and energy, as well as,
loss of private property companion.

I, Marion's trouble for having to defend this frivolous action
created by Dare! Hall, has exasperated my health issues due to
increased stress, cost me money damages and expense, and
subsequently tarnished my reputation and standing in the
community.

Through slanderous and malicious intent and actions, and
acting under authority of the private corporation, Town of
Hudson, Dare! Hall violated more than one of I, Marion's rights
under color of law:

18 U.S.C. § 241- Conspiracy against rights
18 U.S.C. § 242 - Deprivation of rights under color of law
18 U.S. Code§ 1341- Fraud and Swindle
18 U.S. Code§ 2073 - False entries and reports of moneys or
securities
18 U.S. Code§ 513 - Securities of the States and private entities
18 U.S. Code§ 514 - Fictitious obligations
18 U.S. Code § 876(d) - Mailing threatening communications
18 U.S. Code§ 1001- Statements or Entries Generally
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25 CFR § 11.411- Trespass
28 U.S. Code § 4101- Defamation of Character/Slander
18 U.S. Code§ 872 Extortion

I, Marion, claim damages and loss of a private property
companion, time, money, sleep-depravation, anxiety,
defamation of character, and additionally, compromise of my
privacy over private property and private land Estate.

In a good faith effort to remedy the matter, I, Marion, served
the respondent with a claim for damages, supported by a
signed and notarized affidavit of facts, on July 13, 2022, USPS
Certified mail #7020 1810 0000 79811674. Darel Hall did not
respond to rebut those facts.

After 30 days, on August 11, 2022, I, Marion, in another good
faith effort, sent the respondent a second copy of the affidavit
USPS Certified Mail #7020 1810 0000 7981 6990, along with an
Opportunity to Cure and Answer the facts laid out in the
Affidavit or by non-response, tacitly admit. Darel Hall made no
reply.

Without response contrary to the facts attested to, the
respondent, Darel Hall, was then subsequently served the
Default Notice and Invoice of loss and damages claimed on
August 19, 2022, Certified Mail #7022 1670 0001 5233 0070
which has not been answered.
~ - - - - - - - - - - - - - - - - - - - - - - - - -                           -----



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       I, Marion, will attest to all the facts set forth in said Affidavit of
       Facts, under oath, bearing full liability, in a competent court of
       law, if requested.

       Respondent, without response has tacitly agreed and
       acquiesced that the facts set forth are true, correct, accurate,
       not misleading, and binding to the respondent.

       Affiant is requesting a Summary judgement of the invoiced
       amount, based on the tacit agreement by non-response of the
       respondent.

       Maxims of Commerce: All are equal under the law, In
       commerce truth is sovereign, Truth is expressed in the form of
       an affidavit, An unrebutted affidavit stands as truth in
       commerce, An unrebutted affidavit becomes the judgement in
       commerce, Sacrifice is the measure of credibility.
       I am suing for a violation of federal law under 28 U.S.C. S 1331

       Dated 11/8/2022

       Respectfully Submitted,


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       Mari:i:bert
                                                                                          I
       612-940-8111
       crbnchs@protonmail.com                                                         /
                                                                                 /
       c/o 726 E Highway 12 #102
       Hudson, Wisconsin, 54016
